      Douglas R. Ricks, OSB #044026
      VANDEN BOS & CHAPMAN, LLP
      319 SW Washington St., Ste. 520
      Portland, OR 97204
      Telephone: 503-241-4869
      Fax: 503-241-3731

               Of Attorneys for Debtor-in-Possession




                             IN THE UNITED STATES BANKRUPTCY COURT

                                     FOR THE DISTRICT OF OREGON

       In re                                                     21-32073-dwh11
                                                       Case No. ____________

       Love Bites By Carnie, Inc.                      APPLICATION OF DEBTOR-IN-
                                                       POSSESSION FOR AUTHORITY TO
                                                       EMPLOY ATTORNEY
                Debtor-in-Possession                   (Vanden Bos & Chapman, LLP)

                                                   NOTICE

               If you oppose the proposed course of action or relief sought in this Application, you

      must file a written objection with the bankruptcy court no later than twenty-one (21) days

      after the date listed in the certificate of service below. If you do not file an objection, the

      court may grant the Application without further notice or hearing. Your objection must set

      forth the specific grounds for objection and your relation to the case. The objection must be

      received by the clerk of court at 1050 SW 6th Avenue #700, Portland, OR 97204, by the

      deadline specified above or it may not be considered. You must also serve the objection on

      Debtor, c/o Douglas R. Ricks, Vanden Bos & Chapman, LLP, 319 SW Washington Street,

      Suite 520, Portland, OR 97204, (503) 241-4869, within that same time. If the court sets a




Page 1 of 5     APPLICATION OF DEBTOR-IN-POSSESSION FOR AUTHORITY TO                  VANDEN BOS & CHAPMAN, LLP
                                                                                                 Attorneys at Law
                EMPLOY ATTORNEY (Vanden Bos & Chapman, LLP)                             319 SW Washington Street, Suite 520
                                                                                           Portland, Oregon 97204-2690
                                                                                                  (503) 241-4869
                           Case 21-32073-dwh11        Doc 17     Filed 10/08/21
      hearing, you will receive a separate notice listing the hearing date, time, and other relevant

      information.

                                               APPLICATION

              The applicant, Debtor-in-Possession, Love Bites By Carnie, Inc. ("Debtor"),

      respectfully requests entry of the proposed order attached hereto as Exhibit A (the

      “Proposed Order”) and represents as follows:

              1.     Debtor has filed a petition under Chapter 11 of the Bankruptcy Code.

              2.     Debtor wishes to employ the firm of Vanden Bos & Chapman, LLP ("VBC"),

      attorneys duly admitted to practice in this Court, as Debtor's attorney in this proceeding. To

      secure such employment in this proceeding, Debtor’s principal, Tiffany Miller, paid VBC a

      $20,000.00 pre-petition retainer (inclusive of the filing fee for this proceeding). From that

      sum VBC deducted the entire $20,000 pre-petition retainer to pay for earned fees and costs

      up through the filing of the Petition.

              3.     Debtor has selected VBC for the reason that VBC has experience in matters of

      this character, having worked on many other Chapter 11 cases as attorneys.

              4.     The professional services that VBC shall render include: (a) to give Debtor legal

      advice with respect to Debtor's powers and duties as debtor-in-possession in the operation

      of Debtor's business; (b) to institute such adversary proceedings as are necessary in the

      case; (c) to represent Debtor generally in the proceedings and to propose on behalf of

      Debtor as a debtor-in-possession necessary applications, answers, orders, reports and

      other legal papers; and (d) to perform all other legal services for a debtor-in-possession or

      to employ an attorney for such professional services.




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                                                                                              Attorneys at Law
               EMPLOY ATTORNEY (Vanden Bos & Chapman, LLP)                           319 SW Washington Street, Suite 520
                                                                                        Portland, Oregon 97204-2690
                                                                                               (503) 241-4869
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              5.    To the best of Debtor's knowledge, VBC has no connection with the creditors or

      any other adverse party or its attorneys, except as disclosed in the Rule 2014 Verified

      Statement on file herein. Specifically, VBC represented has represented Affiliate Tiffany

      Miller within the past 18 months in various state circuit court cases in Oregon. As of

      October 8, 2021, Applicant no longer represents Ms. Miller and Ms. Miller has retained other

      counsel to take over the pending litigation against her. The prepetition representation and

      compensation for the same is disclosed in the Rule 2014 Verified Statement on file herein.

              6.    VBC represents no interest adverse to the Debtor as debtor-in-possession or to

      the estate in the matters upon which VBC is to be engaged, except as disclosed in the Rule

      2014 Verified Statement on file herein. VBC's employment would be in the best interests of

      the estate.

              7.    The proposed rate of compensation, subject to final court approval, is the

      customary, hourly rates in effect when services are performed by the attorneys, legal

      assistants and staff who provide services to the Debtor. The proposed terms of

      employment are as set forth in the Attorney/Client Fee Agreement, a copy of which is

      attached as Exhibit 1 to the Proposed Order which has been executed by the Debtor and

      VBC. The current hourly rates are as follows:

                      Ann K. Chapman, Managing Partner               $475.00
                      Douglas R. Ricks, Partner                      $425.00
                      Christopher N. Coyle, Partner                  $415.00
                      Colleen A. Lowry, Associate                    $375.00
                      Daniel C. Bonham, Associate                    $285.00
                      Certified Bankruptcy Assistants                $260.00
                      Legal Assistants                               $145.00

      These hourly rates are subject to periodic adjustment to reflect economic conditions and

      increased experience and expertise in this area of the law.



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                                                                                             Attorneys at Law
               EMPLOY ATTORNEY (Vanden Bos & Chapman, LLP)                          319 SW Washington Street, Suite 520
                                                                                       Portland, Oregon 97204-2690
                                                                                              (503) 241-4869
                           Case 21-32073-dwh11       Doc 17    Filed 10/08/21
              8.   Disclosure. VBC commenced rendering prepetition and litigation services to

      Debtor on February 19, 2020. The Debtor has incurred unpaid prepetition and litigation fees

      in excess of $95,000 (after deduction of all payments made by the Debtor to VBC, including

      any offsets or discounts). The principals of Debtor, Carnie Wilson and Tiffany Miller, have

      each offered and VBC has accepted, a promissory note from each principal, which require a

      total payment of $75,000.00, in exchange for VBC waiving those same fees against Debtor

      through August 31, 2021 totaling $95,925.31. VBC will not execute or enforce on the

      promissory notes from the principals unless the following has occurred:

                    a. All payments to creditors have been made pursuant to the Debtor’s

                       confirmed Plan in the Chapter 11 bankruptcy case; or

                    b. The Debtor’s bankruptcy case has been converted to a case under

                       Chapter 7; or

                    c. The Debtor’s bankruptcy case has been dismissed without conversion by

                       the Bankruptcy Court.

      See In re Bay Logan, LLC, Case No. 13-31733-tmb11, Doc No. 54 (Bankr. D. Or. May 9,

      2013) (approving employment under similar circumstances).

              WHEREFORE, Debtor prays as follows:

              1.    That Debtor shall be authorized to employ and appoint the firm of Vanden Bos

      & Chapman, LLP to represent Debtor as Debtor-in-Possession in this proceeding under

      Chapter 11 of the Bankruptcy Code; and

      ///
      ///




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                                                                                           Attorneys at Law
               EMPLOY ATTORNEY (Vanden Bos & Chapman, LLP)                        319 SW Washington Street, Suite 520
                                                                                     Portland, Oregon 97204-2690
                                                                                            (503) 241-4869
                          Case 21-32073-dwh11      Doc 17    Filed 10/08/21
              2.   Debtor further prays for entry of the attached Proposed Order approving the

      terms and conditions of VBC's employment as set forth in the Attorney/Client Fee

      Agreement attached thereto as Exhibit 1.

              DATED: October 8, 2021

       LOVE BITES BY CARNIE, INC.            VANDEN BOS & CHAPMAN, LLP


       By:/s/Tiffany Miller                  By:/s/Douglas R. Ricks
          Tiffany Miller, CEO                   Douglas R. Ricks, OSB #044026
          Debtor-in-Possession                  Of Attorneys for Debtor-in-Possession




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                                                                                         Attorneys at Law
               EMPLOY ATTORNEY (Vanden Bos & Chapman, LLP)                      319 SW Washington Street, Suite 520
                                                                                   Portland, Oregon 97204-2690
                                                                                          (503) 241-4869
                         Case 21-32073-dwh11      Doc 17   Filed 10/08/21
                            IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF OREGON

       In re                                                21-32073-dwh11
                                                 Case No. ______________

       Love Bites By Carnie, Inc.                [PROPOSED] ORDER FOR THE
                                                 EMPLOYMENT OF
                                                 COUNSEL FOR Debtor-IN-
                                                 POSSESSION
               Debtor-in-Possession.             (Vanden Bos & Chapman, LLP)

               THIS MATTER having come before the court upon the application of Debtor-in-

      Possession, Love Bites By Carnie, Inc. (“Debtor”), praying for authority to employ and

      appoint the firm of Vanden Bos & Chapman, LLP ("VBC") to represent Debtor as the

      Debtor-in-Possession herein, that the connections disclosed in the Rule 2014 Verified

      Statement of VBC on file herein do not constitute adverse interests, that VBC represents no

      interest adverse to the Debtor as Debtor-in-Possession herein on the matters upon which

      VBC is to be engaged, or to the estate, (except as disclosed in the Rule 2014 Verified

      Statement on file herein), that the firm's employment is necessary and would be in the best




Page 1 of 3     [PROPOSED] ORDER FOR THE EMPLOYMENT OF COUNSEL FOR              VANDEN BOS & CHAPMAN, LLP
                                                                                           Attorneys at Law
                DEBTOR-IN-POSSESSION (Vanden Bos & Chapman, LLP)                  319 SW Washington Street, Suite 520
                                                                                     Portland, Oregon 97204-2690
                                                                                            (503) 241-4869
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      interest of the estate, and the time for filing an objection having expired and the Court being

      otherwise fully advised, it is hereby

              ORDERED that:

              1.    Debtor is authorized to employ VBC to serve as attorney to represent Debtor

      as Debtor-in-Possession in this proceeding under Chapter 11 of the Bankruptcy Code. The

      terms and conditions of the employment of VBC, are set forth in the Attorney/Client Fee

      Agreement attached as Exhibit 1.

              2.    That compensation shall be set by the Court to be paid upon Applicant’s

      compliance with the procedures set forth in 11 U.S.C. §§330, and/or 331.

              3.    The Court conditions its approval of the appointment of VBC as Debtor’s

      attorney on VBC’s agreement to waive its prepetition and prelitigation fees through August

      31, 2021 against Debtor and to not seek enforcement of its promissory notes of Debtor’s

      principals unless and until the following has occurred:

                    a. All payments to creditors have been made pursuant to the Debtor’s

                       confirmed Plan in the Chapter 11 bankruptcy case; or

                    b. The Debtor’s bankruptcy case has been converted to a case under

                       Chapter 7; or

                    c. The Debtor’s bankruptcy case has been dismissed without conversion by

                       the Bankruptcy Court.

              4.    This Order shall be effective only if the firm to which it applies does not hold or

      represent an interest adverse to the estate and is a "disinterested person" as defined by 11

      U.S.C. §101(14).

                                                    ###


Page 2 of 3    [PROPOSED] ORDER FOR THE EMPLOYMENT OF COUNSEL FOR                  VANDEN BOS & CHAPMAN, LLP
                                                                                              Attorneys at Law
               DEBTOR-IN-POSSESSION (Vanden Bos & Chapman, LLP)                      319 SW Washington Street, Suite 520
                                                                                        Portland, Oregon 97204-2690
                                                                                               (503) 241-4869
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      PRESENTED BY:

      VANDEN BOS & CHAPMAN, LLP                           First Class Mail:

                                                          Love Bites Bites, Inc.
      By:/s/Douglas R. Ricks                              c/o Tiffany Miller
         Douglas R. Ricks, OSB #044026                    15028 SW Century Dr. #200
         Of Attorneys for Debtor-in-Possession            Sherwood, OR 97140

      LBR 9021-1 CERTIFICATION                            Electronic Mail:
      I certify that I have complied with the
      requirement of LBR 9021-1(a); Proposed Order        The foregoing was served on all
      was circulated with Motion.                         CM/ECF participants through the
                                                          Court's Case Management/Electronic
                                                          Case File system
      By:/s/Douglas R. Ricks
         Douglas R. Ricks, OSB #044026




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                                                                                         Attorneys at Law
              DEBTOR-IN-POSSESSION (Vanden Bos & Chapman, LLP)                  319 SW Washington Street, Suite 520
                                                                                   Portland, Oregon 97204-2690
                                                                                          (503) 241-4869
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                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF OREGON
In re                               )
                                                  21-32073-dwh11
                                    ) Case No. ________________
Love Bites By Carnie, Inc.          )
                                    ) RULE 2014 VERIFIED STATEMENT
Debtor(s)                           ) FOR PROPOSED PROFESSIONAL
                                         (Vanden Bos & Chapman, LLP)
Note: To file an amended version of this statement per ¶19, file a fully completed amended Rule 2014
statement on LBF #1114 and clearly identify any changes from the previous filed version.

 1. The applicant is not a creditor of the debtor except:
        N/A

 2. The applicant is not an equity security holder of the debtor.

 3. The applicant is not a relative of the individual debtor.

 4. The applicant is not a relative of a general partner of the debtor (whether the debtor is an individual,
    corporation, or partnership).

 5. The applicant is not a partnership in which the debtor (as an individual, corporation, or partnership)
    is a general partner.

 6. The applicant is not a general partner of the debtor (whether debtor is an individual, corporation, or
    partnership).

 7. The applicant is not a corporation of which the debtor is a director, officer, or person in control.

 8. The applicant is not and was not, within two years before the date of the filing of the petition, a
    director, officer, or employee of the debtor.

 9. The applicant is not a person in control of the debtor.

10. The applicant is not a relative of a director, officer or person in control of the debtor.

11. The applicant is not the managing agent of the debtor.

12. The applicant is not and was not an investment banker for any outstanding security of the debtor;
    has not been, within three years before the date of the filing of the petition, an investment banker
    for a security of the debtor, or an attorney for such an investment banker in connection with the
    offer, sale, or issuance of a security of the debtor; and is not and was not, within two years before
    the date of the filing of the petition, a director, officer, or employee of such an investment banker.

13. The applicant has read 11 U.S.C. §101(14) and §327, and FRBP 2014(a); and the applicant’s firm
    has no connections with the debtor(s), creditors, any party in interest, their respective attorneys and
    accountants, the United States Trustee, or any person employed in the office of the United States
    Trustee, or any District of Oregon Bankruptcy Judge, except as follows:
        See Attached Continuation Statement No. 13 and response to No. 18 below.




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14. The applicant has no interest materially adverse to the interest of the estate or of any class of
    creditors or equity security holders.

15. Describe details of all payments made to you by either the debtor or a third party for any services
    rendered on the debtor's behalf within a year prior to filing of this case:
 2/23/21 - $5,000; 10/7/21 - $20,000 (inclusive of filing fee). Debtor has agreed to pay an hourly rate for
all pre and post-petition services.




16. The debtor has the following affiliates (as defined by 11 U.S.C. §101(2)). Please list and explain
    the relationship between the debtor and the affiliate:
     Carnie Wilson - is the President of Debtor and has an ownership interest of 42.81%.
     Tiffany Miller - is the CEO of Debtor and has an ownership interest of 42.81%.




17. The applicant is not an affiliate of the debtor.

18. Assuming any affiliate of the debtor is the debtor for purposes of statements 4-13, the statements
    continue to be true except (list all circumstances under which proposed counsel or counsel's law
    firm has represented any affiliate during the past 18 months; any position other than legal counsel
    which proposed counsel holds in either the affiliate, including corporate officer, director, or
    employee; and any amount owed by the affiliate to proposed counsel or its law firm at the time of
    filing, and amounts paid within 18 months before filing):
     Applicant has represented Affiliate Tiffany Miller within the past 18 months in various state circuit
court cases in Oregon. As of October 8, 2021, Applicant no longer represents Ms. Miller and Ms. Miller
has retained other counsel to take over the pending litigation against her.




19. The applicant hereby acknowledges that he/she has a duty during the progress of the case to keep
    the court informed of any change in the statement of facts which appear in this verified statement.
    In the event that any such changes occur, the applicant immediately shall file with the court an
    amended verified statement on LBF #1114, with the caption reflecting that it is an amended Rule
    2014 statement and any changes clearly identified.

THE FOLLOWING QUESTIONS NEED BE ANSWERED ONLY IF AFFILIATES HAVE BEEN LISTED
IN STATEMENT 16.

20. List the name of any affiliate which has ever filed bankruptcy, the filing date, and court where filed:
     N/A.




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21. List the names of any affiliates which have guaranteed debt of the debtor or whose debt the debtor
    has guaranteed. Also include the amount of the guarantee, the date of the guarantee, and whether
    any security interest was given to secure the guarantee. Only name those guarantees now
    outstanding or outstanding within the last 18 months:
     See Debtor's Schedules D, E/F, G and H of its bankruptcy filing.




22. List the names of any affiliates which have a debtor-creditor relationship with the debtor. Also
    include the amount and date of the loan, the amount of any repayments on the loan and the
    security, if any. Only name those loans now outstanding or paid off within the last 18 months:
     See Debtor's Schedules E/F.




23. List any security interest in any property granted by the debtor to secure any debts of any affiliate
    not covered in statements 20 and 21. List any security interest in any property granted by the
    affiliate to secure any debts of the debtor not covered in statements 21 and 22. Also include the
    collateral, the date and nature of the security interest, the name of the creditor to whom it was
    granted, and the current balance of the underlying debt:
     06/09/21 - Trust Deed and Promissory Note securing Affiliate Tiffany Miller's personal residence to
Integrity Staffing as guaranty of payment of $100,000 by Debtor to Integrity Staffing.
     03/13/19 - UCC on all assets of Debtor, Tiffany Miller, and Carnie Wilson to secure business loan
with Beneficial Bank. Current balance on loan $560,856.85.




24. List the name of any affiliate who is potentially a "responsible party" for unpaid taxes of the debtor
    under 26 U.S.C. §6672:
None. Debtor's federal taxes are fully paid.




I verify that the above statements are true to the extent of my present knowledge and belief.
                                                                Vanden Bos & Chapman, LLP

                                                               ________________________________
                                                               /s/Douglas R. Ricks
                                                                              Applicant

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In re Love Bites By Carnie, Inc.;
Chapter 11 Bankruptcy Case No. 21-32073-dwh11



Continuation Statement No. 13:

    1. Applicant’s firm, Vanden Bos & Chapman, LLP (“VBC”), maintains deposit
accounts at KeyBank and a credit card account at KeyBank, which is used exclusively
for payments on the Court’s CM/ECF System. VBC also maintains a credit card
account with Capital One for business expenses. Both the KeyBank and Capital One
credit card accounts are paid off monthly with no balance carried forward. Attorneys
and staff at VBC may have social or other professional relationships with Bankruptcy
Court judges, the Clerk of the Bankruptcy Court, clerks and/or staff of the Bankruptcy
Court, employees of the office of the United States Trustee, other federal employees,
and individuals who are members of law firms involved in this case or who are
employed by creditors or other parties in interest. Other than with respect to the United
States Bankruptcy Court for the District of Oregon and the Office of the U.S. Trustee or
as otherwise outlined herein, VBC has conducted no investigation of its attorneys or
staff members’ employment, banking, insurance, brokerage or investment activities or
familial connections in preparing this statement.

   2. The spouse of another of the Partners of Applicant is a current employee of the
State of Oregon. The State of Oregon and its respective agencies, is a potential
creditor and party in interest in this case.

   3. Applicant’s firm represented previously represented Affiliate Tiffany Miller but has
since resigned as her counsel.

   4. VBC does not have banking relationships with any of the creditors in the case.




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In re Love Bites By Carnie, Inc.
Bankruptcy Case No. 21-32073-dwh11


                               CERTIFICATE - TRUE COPY

DATE:             October 8, 2021

DOCUMENT:         APPLICATION OF DEBTOR-IN-POSSESSION FOR AUTHORITY TO
                  EMPLOY ATTORNEY (VANDEN BOS & CHAPMAN, LLP) AND RULE
                  2014 VERIFIED STATEMENT FOR PROPOSED PROFESSIONAL



       I hereby certify that I prepared the foregoing copy of the foregoing named
document and have carefully compared the same with the original thereof and it is a
correct copy therefrom and of the whole thereof.

                               CERTIFICATE OF SERVICE

        I hereby certify that I served a copy of the foregoing on:

 Love Bites By Carnie, Inc.
 c/o Tiffany Miller
 15028 SW Century Dr. #200
 Sherwood, OR 97140

by mailing a copy of the above-named document to each of the above in a sealed
envelope addressed to the last known address. Each envelope was deposited into the
postal system at Portland, Oregon, on the below date, postage prepaid.
      I hereby certify that the foregoing was served on all CM/ECF participants through
the Court's Case Management/Electronic Case File system on the date set forth below.

 Dated: October 8, 2021                 VANDEN BOS & CHAPMAN, LLP



                                        By:/s/Douglas R. Ricks
                                           Douglas R. Ricks, OSB #044026
                                           Of Attorneys for Debtor-in-Possession




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